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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN


CHRISTY L. THISTLE,

               Plaintiff,

       vs.                                            Case No: 13-CV-0735

GOLDEN COUNTY FOODS, INC.,

               Defendant.


                      STIPULATION OF DISMISSAL PURSUANT TO
                        F.R.C.P. 41(a)(1) WITHOUT COST OF FEES


IT IS HEREBY STIPULATED AND AGREED TO by and between Plaintiff Christy L. Thistle,

by her attorneys, Heins & Minko LLC, and Defendant Golden County Foods, Inc., by its

attorneys, Ruder Ware LLSC, that this action, and all claims herein, is hereby dismissed pursuant

to FED. R. CIV. P. 41(a)(1) with prejudice and without attorneys’ fees or costs to either Party.

       Dated this 21st day of July, 2014.

       STIPULATED AND AGREED TO BY THE PARTIES:


                                              HEINS & MINKO LLC
                                              Counsel for Plaintiff

                                                 s/Erica N. Reib.
                                              Erica N. Reib, State Bar No. 1084760
                                              1001 West Glen Oaks Lane, Suite 101
                                              Mequon, Wisconsin 53092
                                              Telephone: 262-241-8444
                                              Fax: 262-241-8455
                                              email: ereib@heinslawoffice.com

                                              RUDER WARE LLSC
                                              Counsel for the Defendant
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                                 s/ _Sara J. Ackermann
                             Sara J. Ackermann, State Bar No. 1056492
                             500 First Street, Suite 8000
                             P.O. Box 8050
                             Wausau, Wisconsin 54402-8050
                             Telephone: (715) 845-4336
                             Facsimile: (715) 845-2718
                             Email: sackermann@ruderware.com
